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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF GEORGIA
                          VALDOSTA DIVISION

SHAMIAH SHARP, as mother, natural )
guardian and Next friend of Z.T., a       )
minor, residents and citizens of Georgia, )
                                          ) CIVIL ACTION
      Plaintiff,                          ) CASE NO. 7:23-cv-33-WLS
                                          )
 vs.                                      )
 POLYMER 80, INC., A Nevada               )
 corporation, POLYMER80                   )
 ENTERPRISE PROPERTIES, LLC,              )
 A Nevada Limited Liability Company, )
 And DELTATEAMTACTICAL.COM, )
 A Utah Limited Liability Company d/b/a )
 DELTA TEAM TACTICAL,                     )
                                          )
       Defendants.                        )
____________________________________________/

  RESPONSE AND BRIEF IN OPPOSITION TO MOTION TO DISMISS
    COMPLAINT BY DEFENDANT DELTATEAMTACTICAL.COM

      Plaintiff SHAMIAH SHARP, as mother, natural guardian and next friend of

Z.T., a minor, through undersigned counsel, responds in opposition to the Motion to

Dismiss the Complaint and attached brief (DE 15, 15-1) filed by Defendant

DELTATEAMTACTICAL.COM. (DELTA). DELTA cites the federal statute it

violated by its conduct, but relies on one opinion interpreting that statute,

overlooking other law explaining the way in which the conduct described in the

Complaint does violate federal law and does support a cause of action for negligence

per se.
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      DELTA correctly cites the federal statutory definition of a “firearm ” as set

forth in 18 U.S.C. §921(a)(3), and correctly notes that this definition was in effect at

the time of the May 1, 2021 shooting and preceding online firearm kit purchase by

minor J.C., as described in the Complaint. (DE 15-1 at 3; DE 1, Complaint at ¶¶12-

25). Section 921(a)(3) defines a “firearm” as:

      (A) Any weapon (including a starter gun) which will or is designed to
         or may readily be converted to expel a projectile by the action of an
         explosive;
      (B) the frame or receiver of any such weapon;
      (C) any firearm muffler or firearm silencer;
      (D) any destructive device.

      Paragraphs 12 and 13 of the Complaint describe in detail the methods by

which the “firearm frame and receiver blanks” and accompanying “jigs,” and

assembly kits can “readily be converted” into fully functional firearms capable of

expelling “a projectile by means of an explosive” as was done in this case. The kits

may be “readily” converted into firearms “through simple steps” “using simple and

readily available tools” “such as drilling a few holes, thereby creating a full firearm

frame” and then “equally readily to assemble a useable firearm from the frame by

adding components such as triggers, firing pins and slides.” (DE 1 at ¶12). Paragraph

12 also alleges that the Defendants, including DELTA, provide instructions with

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their kits sold online so that purchasers may readily assemble a complete firearm;

Paragraphs 13 and 22 point out that the instructions provided by DELTA and the

other Defendants can be and are supplemented by instructional videos available

online and that the minor purchaser J.C. was able to and did use those videos,

supplementing the instructions provided by DELTA and the other Defendants,

readily to assemble a completed and functional firearm from the components and kit

she purchased online. (DE 1 at ¶¶13, 22).

      The District Court of North Dakota, in Morehouse Enterprises v. ATF, 2022

WL 3597299, (D.N.D. Case No. 3:22-CV-116, August 23, 2022), a copy of which

is attached as Exhibit 1, denied a motion for preliminary injunction against ATF

rules intended to “clarify the definition of ‘firearm’,” to “provide a more

comprehensive definition of ‘frame and receiver’” that would “more accurately

reflect firearm configurations not explicitly captured under the existing definitions,”

and that would “take into account technological developments and modern

technology in the firearms industry.” Morehouse at 5, citing 86 Fed. Reg. 27720,

27725 (May 21, 2021).




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      The Morehouse court determined that the “weapon kits at issue” in

Morehouse, similar to the ones described in the Complaint in this case, “fit squarely”

within the federal statutory definition of a “firearm” because “after delivery, the kits

are easily converted from mere parts into a weapon that expels a projectile,” the very

process described in the Complaint in this case. Morehouse at 10. The Morehouse

court pointed out that a “plain reading” of Section 921(a)(3) requires the term

“firearm” to be defined “more broadly than simply a fully operational weapon,”

since “the statute expressly includes items that ‘may readily be converted’ to expel

a projectile,” even if those items are not sold in a format that can be used immediately

or without some ready conversion process to expel projectiles. Thus, “a non-

operational weapon, that can be made operational,” particularly if it can “readily” be

made so, such as the kits referenced in the Complaint, “qualifies as a firearm” under

the plain meaning of the statute. Id.    While an interlocutory appeal was filed in

Morehouse, it has been dismissed by stipulation. (Exhibit 2).

      DELTA cites VanDerStok v. BlackHawk Mfg. Group, Inc., 2022 WL

16680915, (N.D. Tex. Case No. 4:22-CV-00691-O, November 3, 2022) and

Polymer80, Inc, v. Garland, (DE 15-2, N.D. Tex. Case No. 4:23-cv-00029-O, March


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19, 2023) for the proposition that the frame and receiver kits it sells are somehow

excluded from the statutory definition of a “firearm,” even though they are alleged

to be and are “readily” convertible into fully operational weapons that can be fired

to expel projectiles (as was done in this case). The court in Garland drew an artificial

distinction between what it termed “weapons,” i.e. operational firearms, and firearm

components that cannot immediately be used as projectile firing weapons but can

readily be converted into such weapons using simple tools and instructions. (DE 15-

2 at 3-4, 13-14). This distinction is entirely artificial and, more importantly,

inconsistent with the statutory language of Section 921(a)(3), which as explained

above and in Morehouse is clearly intended to cover items that may “readily be

converted to expel a projectile,” not merely items sold in a form already capable of

expelling a projectile. The kit sold by DELTA and described in the Complaint falls

within the statutory definition of a firearm.

      The Complaint alleges the multiple ways in which DELTA’s sale of the kit to

J.C. violated federal statutory law, in particular laws against firearm sales to minors

under the age of 18 and the restrictions on sales not conducted in person. See DE 1

at ¶16; 18 U.S.C. §922(b)(1); 18 U.S.C. §922(c)(1). DELTA complains that the


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Plaintiff has not alleged the class protected by these statutes, but those classes are

obvious. Restrictions on firearm sales to minors are clearly intended to protect

members of the public (including, as in this case, other minors) from the

irresponsible use of firearms by minors under the age of 18, who inherently have

less developed judgment and are more impulsive than adults. This is demonstrated

by J.C.’s actions alleged in this case, such as playing with a loaded firearm in the

presence of other persons as alleged in Paragraphs 23 through 25 of the Complaint.

(DE 1 at ¶¶23-25). The class protected by the restrictions on sales not in person is

also the members of the public, endangered by sales of firearms to persons not

eligible to purchase them and whose eligibility or disqualification is inherently less

subject to adequate verification in online as opposed to in person sales. The

Complaint thus alleges violations of federal statutes, enacted to protect a class

including Z.T., that led to his injury. The pleading of negligence per se under cases

such as those cited by DELTA, Schaff v. Snapping Shoals Elec. Membership Corp.,

330 Ga. App. 161 (2014) and Swinney v. Schneider Nat. Carriers, Inc., 829 F.

Supp.2d 1358 (N.D. 2011) is sufficient.




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       DELTA complains that the pleading is of a “shotgun” nature, commingling

allegations against the various Defendants and containing insufficient factual

allegations tying the events to the causes of action. Even a cursory review of the

Complaint will reveal that it contains over a dozen paragraphs of factual allegations

explaining in detail exactly how J.C. obtained the weapon kit sold by DELTA and

the other Defendant and assembled it into the operational firearm with which she

played and with which she shot Z.T. The Complaint also contains elaborate

descriptions of the kits sold by Defendants, their business practices, and their

procedures (or, more accurately, lack of procedures) for verifying the eligibility of

their purchasers under the multiple quoted federal statutes to obtain firearms. (DE 1

at ¶¶12-25).

       The United States Supreme Court has specified the standard for the detail of

pleading required in a federal civil action. A complaint must "contain sufficient

factual matter, accepted as true, to 'state a claim to relief that is plausible on its face.'"

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009), quoting Bell Atlantic Corp. v. Twombly,

550 U.S. 544, 570 (2007). See Fed. R. Civ. Pro. 8(a)(2) (requiring pleading of a

“short and plain statement of the claim showing that the pleader is entitled to relief”).


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Pleading "has facial plausibility when the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged." Iqbal, 556 U.S. at 678. What is required is not a showing of

"probability" at the pleading stage, but only "enough fact to raise a reasonable

expectation that discovery will reveal evidence" supporting the claim. Twombly, 550

U.S. at 556. While disregarding purely conclusory allegations, a court ruling on a

motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6) should

“assume” the ‘veracity” of all “well-pleaded factual allegations” “and then

determine whether they plausibly give rise to an entitlement to relief.” Iqbal, 556

U.S. at 679. The court should accordingly "accept as true the facts as set forth in the

complaint and draw all reasonable inferences in the plaintiff's favor." Randall v.

Scott, 610 F.3d 701, 705 (11th Cir. 2010).

       The Complaint in this case, as explained above, goes far beyond mere

conclusions and contains detailed factual allegations regarding the Defendants’

conduct, sale of the firearm kit to J.C., J.C.’s use of the kit, and the resulting shooting

of Z.T. The detail in the allegations is more than enough to meet the Iqbal/Twombly

plausibility standard and to allow Defendants, including DELTA, to respond both


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factually and legally to the allegations. If the Court does request or require a

reformatting of the allegations, the Plaintiff requests an opportunity to amend the

Complaint accordingly.

      DELTA complains that the Plaintiff has not adequately alleged the proximate

causal connection between its actions in selling the gun kit to J.C. without adequate

age verification and the resulting injury to Z.T. The proximate causal connection,

like the class protected by the cited federal statutes, is obvious. Had DELTA

properly verified J.C.’s status as a minor before selling the kit to her, it would not

have sold the kit to her, she would not have assembled the firearm she played with,

would not have had the opportunity to play with it irresponsibly, and would not have

shot Z.T.

      Citing McBrayer v. Dickerson, 192 Ga. App. 725, 386 S.E.2d 173 (1989),

DELTA asserts that the act of entrusting a firearm to a minor such as J.C. does not

suffice to state a claim for negligent entrustment under Georgia law. DELTA,

however, overlooks the decision of the United States District Court for the Southern

District of Georgia in Knight v. Wal-Mart Stores, Inc., 889 F. Supp. 1532 (S.D. Ga.

1995), in which the court, interpreting Georgia law, held that Georgia follows the


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law of negligent entrustment as summarized in the Second Restatement of Torts

§390. Section 390 provides that:

      One who supplies directly or through a third person a chattel for the use
      of another whom the supplier knows or has reason to know to be likely
      because of his youth, inexperience, or otherwise, to use it in a manner
      involving unreasonable risk of physical harm to himself and others
      whom the supplier should expect to share in or be endangered by its
      use, is subject to liability for physical harm resulting to them.

Knight, 889 F. Supp. at 1539, quoting Restatement Second of Torts §390 (emphasis
in Knight).

Thus, under Knight and Georgia law as interpreted in Knight, entrusting a firearm to

someone who foreseeably will use it irresponsibly due to “youth” or “inexperience”

is indeed a negligent entrustment. The Knight court also pointed out that Wal-Mart’s

act of selling a firearm to a mentally disturbed purchaser who later used that firearm

to commit suicide was proximately causally connected to the suicide, noting that it

“is basic common law that defendants remain liable where intervening acts between

the negligence and the ultimate harm were foreseeable.” Knight, 889 F. Supp. at

1541, citing Milton Bradley Co. v. Cooper, 79 Ga. App. 3023, 53 S.E.2d 761 (1949).

As explained above, it is reasonably foreseeable and indeed obvious to a reasonable

seller of firearms or firearm components that selling such dangerous


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instrumentalities to minors would lead to their irresponsible and dangerous misuse

by the minor purchaser.

      In McBrayer, on which DELTA relies, “the evidence was uncontroverted that

the [minor] appellant knew how to operate the pistol, and there was no evidence that

the appellant had ever been reckless with firearms, much less habitual in that vice.”

McBrayer, 192 Ga. App. at 725. In McBrayer, therefore, the minor had a track

record indicating to a reasonable entrustor that he would not be irresponsible in his

use of a firearm despite his status as minor. In this case, however, as alleged in the

Complaint, DELTA would have no such exculpatory knowledge about J.C.’s

experience and ability to use firearms safely. A reasonable seller in the position of

DELTA at the time it sold the firearm kit to J.C. would or should know only that

J.C. was a minor under the age of eighteen, so that a sale of a handgun to her would

violate federal law and so that, in the absence of contrary information such as that

available in McBrayer, which DELTA did not have, the seller would reasonably

foresee a risk of irresponsible use of the firearm by the purchaser. DELTA’s

entrustment of a firearm kit to such a minor was negligent.




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      For the reasons explained above, the Court should deny the Motion to Dismiss

both as to the claim of negligence per se and the claim of negligent entrustment. As

explained above, the Complaint provides more than adequate factual and legal

allegations to allow DELTA to respond, and it has indeed responded. If the Court

nevertheless concludes that the Complaint should be reformatted for additional

clarity, the Plaintiff requests leave to do so.

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                         CERTIFICATE OF SERVICE

      The undersigned counsel for Plaintiffs hereby certify that the foregoing was

filed and served through the CM/ECF system of this Court, and thereby served on

counsel on the attached service list registered with the CM/ECF system, this 15th day

of May, 2023.

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                            SERVICE LIST
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